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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-467 JAM
12                                Plaintiff,             STIPULATION REGARDING SENTENCING OF
                                                         ZHORA DARMOYAN, MARAT GALOYAN &
13                          v.                           MARTIN ATOYAN; FINDINGS AND ORDER
14   ZHORA DARMOYAN, ET AL.,                             DATE: January 26, 2016
                                                         TIME: 9:15 a.m.
15                                Defendants.            COURT: Hon. John A. Mendez
16

17                                               STIPULATION

18          1.     By previous order, this matter was set for sentencing on January 26, 2016.

19          2.     By this stipulation, defendants now move to continue the sentencing until May 3, 2016,

20 in order to give probation time to prepare Presentence Investigation Reports (“PSRs”) and for the parties

21 to respond.

22          3.     The parties agree and stipulate, and request that the Court find the following:

23                 a)      Zhora Darmoyan’s, Marat Galoyan’s, and Martin Atoyan’s cases should be

24          referred to probation for the creation of PSRs.

25                 b)      The schedule for the disclosure of the PSRs, the parties’ responses and the

26          sentencing is the following:

27

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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS    1
      AND ORDER
              Case 2:11-cr-00467-JAM Document 152 Filed 01/20/16 Page 2 of 3
       Date of Referral to Probation Officer:                        January 20, 2016

 1
       Judgment and Sentencing Date:                                 May 3, 2016 @ 9:15 A.M.
 2

 3     Reply, or Statement of Non-Opposition:                        April 26, 2016
                                                                     (1 week before sentencing)
 4
       Motion for Correction of the Presentence Report Shall be Filed April 19, 2016
 5     with the Court and Served on the Probation Officer and         (2 weeks before sentencing)
       Opposing Counsel no Later Than:
 6
       The Pre-Sentence Report Shall be Filed with the Court and     April 12, 2016
 7     Disclosed to Counsel no Later Than:                           (3 weeks before sentencing)
       Counsel’s Written Objections to the Presentence Report Shall April 5, 2016
 8     be Delivered to the Probation Officer and Opposing Counsel (4 weeks before sentencing)
       no Later Than:
 9     The Proposed Presentence Report Shall be Disclosed to        March 22, 2016
       Counsel no Later Than:                                       (6 weeks before sentencing)
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12          IT IS SO STIPULATED.
13
     Dated: January 19, 2016                                   BENJAMIN B. WAGNER
14                                                             United States Attorney
15
                                                               /s/ LEE S. BICKLEY
16                                                             LEE S. BICKLEY
                                                               Assistant United States Attorney
17

18
     Dated: January 19, 2016                            /s/ CHRISTOPHER HAYDN-MYER
19
                                                        CHRISTOPHER HAYDN-MYER
20                                                      Counsel for Defendant
                                                        MARAT GALOYAN
21

22 Dated: January 19, 2016                              /s/ J TONEY
                                                        J TONEY
23                                                      Counsel for Defendant
24                                                      MARTIN ATOYAN

25

26 Dated: January 19, 2016                               /s/ DANIEL V. BEHESNILIAN
                                                         DANIEL BEHESNILIAN
27                                                       Counsel for Defendant
                                                         ZHORA DARMOYAN
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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS      2
      AND ORDER
            Case 2:11-cr-00467-JAM Document 152 Filed 01/20/16 Page 3 of 3


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 2                                         FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 20th day of January, 2016

 4
                                                       /s/ John A. Mendez
 5                                                     THE HONORABLE JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     3
     AND ORDER
